UNITED STATES DISTRICT COURT
FOR Tl-lE WESTERN DISTRICT OF VIRGINIA
Charlottesville Division

JASON KESSLER
Plaintiff,

v. Case No. 3:180v00015-NKM-JCH
CITY OF CHARLOTTESVILLE
MAURICE J ONES

Charlottesville City Manager

ln his individual and official capacities

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Defendants.

 

DECLARATION ()F CAPTAIN WENDY LEWIS
I, Captain Wendy Lewis, declare under penalty of perjury as foilows:

l. l am a Captain in the Charlottesville Police Department (“CPD”).

2. I Was Jason Kessler’s main point of contact in the CPD regarding his “Unite the Right”
event that took place on August 12, 2017. Mr. Kessier and l met on several occasions
from early June up until the event in August. We also occasionally communicated about
these issues via text, including texts about the Security plan in the days leading up to the
event. Our discussions included logistics issues for the 2017 event such as tents in the
event of rain and the loading and unloading of sound equipment On one occasion he
came to the CPD to review the then-current version of the poiice’S Security plan. Due to
the sensitivity of that document, We could not provide him With his own copy of it. Mr.
Kessler’s security team had further discussions With Lieutenant Hatter and Sergeant

Detective Newberry of the CPD as the plans developed, including communication of the

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final security plan. Mr. Kessler was aware of the outlines of our plan to protect his
rally.

3. Before the August 12th event, l and other officers of the CPD received intelligence
reports about it. Based on these reports, the CPD estimated that from l,000 to 1,500
demonstrators would participate in the event, far more than the 400 people Mr. Kessler
estimated on his permit application Several of the groups and individuals we believed
Would attend the event had participated in violent events in the past, such as the violent
rallies in Portland, Oregon, in Berkeley, Sacramento, and iri Anaheim, California. Based
on these reports, l believed that the Unite the Right event would lead to a similar or,
potentially, even greater amount of violence.

4. The CPD also received reports from the Virginia Fusion Center that Unite the Right
demonstrators intended to bring various weapons, such as bats, batons, tlag sticks,
lmives, and firearms and possibly pepper spray with which to confront others.

5. On August 7, 2017, l attended a meeting with Mr. Kessler, City Manager Manrice Jones,
and Michelle Christian. At the meeting, Mr. Jones asked Mr. Kessler about how many
people he anticipated attending the Unite the Right event, noting that we believed that
many more than 400 people were likely to attend Mr. Kessler stated that his estimate of
400 people was likely correct, but provided no support for it and asserted that he was not
responsible for how many people ultimately attended the event. At that meeting, Mr.
Jones informed l\/Ir. Kessler that he Would modify Mr. Kessler’s permit application for
the event to take place in Mclntire Park. That decision was based on the superiority of
that location to protect public safety, including a much larger area, off street parking,

much less disruption to narrow downtown streets, and easier access for attendees. l

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agreed with this decision on public safety grounds Mr. Kessler stated that he would net
accept that; rather, he and his event attendees would congregate in Emancipation Park
(formerly Lee l’ark), and he would file a lawsuit challenging the City’s decision to move
the event to Mclntire Park.

6. On August 8, 2017, Mr. Kessler met with me, former Police Chief Al Thomas, and
Captain Victor Mitchell to discuss security for the event. Chief Thomas explained that the
CPD would be much more capable of keeping people safe if the event were held in
Mclntire Park. He also explained to Mr. Kessler that the CPD’s goal is to keep everyone
safe. Mr. Kessler continued to resist holding the event in Mclntire Park, stating that he
and his attendees would go to Emancipation Park instead. He repeatedly asked if we
would stick to the same security plan as we agreed to for Emancipation Park. Chief`
Thomas conveyed that we would plan for both contingencies-if the event was held in
Emancipation Park or if it was held in Mclntire Parl<-min order to keep people safe.

7. Around August Sth, Mr. Kessler provided me with the name of Jack Pierce, who he said
was in charge of security for tlie speakers On August 7th, l passed Mr. Pierce’s contact
information along to Sgt. Tony Newberry to coordinate the logistics of escorting the
speakers for the event into Emancipation Park.

S. On August llth, I called Mr. Kessler after the court’s ruling on the rally location to
inform him of the ruling and to reinforce the security plans. He was in the middle of the
torch light rally at UVA. He texted me Elliot Kline’s number and said Mr. Kline was the
new person in charge of security. l then texted Mr. Kessler to confirm for him that the
original plan for VlP and speaker escorts was in place. l hereby aver that a true and

correct copy of these texts is attached to this Declaration as Exhibit A.

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9. On August thh, despite the several months of appearing to cooperate With police
security planning, Mr. Kessler did not show up with his demonstrators from the West as
was provided for in the security plan. lnstead, his attendees came into Emancipation Park
from all directions The speakers not following the Security plan and the attendees
coming in from all directions significantly contributed to the security issues experienced
that morning because CPD had no opportunity to keep the demonstrators separate from
the counter-protestors

10. Instead of arriving in the Park from the West as police expected, demonstrators matched

in from all sides. The picture below shows demonstrators marching across the

 

Downtown Mall.
The march was not part of Mr. Kessler’s permit; the police were given no advance notice

of it. Given the number of participants and its ordered r'anks, it must have been planned in

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advance, in open disregard of the security planning engaged in between i\/[r. Kessler and
the police department

ll. The security plan that Mr. Kessler failed to follow was similar to that used by police to
manage an event held by a branch of the Ku Klux Klan event the previous month (.luly S,
2017). The Klan members abided by that security plan, and while there were some
disturbances they were able to be managedl Mr. Kessler’s failure to abide by the plan
and with police requests significantly hampered the department’s ability to control and
secure the August 12, 2017 event, and his event led to very different consequences

lZ. Also on the morning of August thh, l was advised by Sgt. Tony Newberry that Mr.
Kessler’s appointed security head for the speakers, Jack Pierce, had reneged at the last
minute on the security plan he had agreed to with Sergeant Newberry in advance over a
multi-day planning period. Instead of a police escort of the speakers into the back side
Emancipation Park, the speakers came unescorted to the bank of the Park along with a
number of other demonstratorsl

l3. The fact that the demonstrators did not come in from the West, and the fact that the
speakers did not meet up with their police escort for their travel to the Park, showed a
total disregard for the security planning engaged in between Mr. Kessler and the CPD in
the months preceding the August 12th event. This lack of cooperation directly
contributed to the violence that occurred that day and to the difficulty the department had
in containing it.

14. On August 26, 2017, I received two texts from l\/Ir. Kessler in which he acknowledges

that the CPD had followed the security plan and essentially states that he can find people

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to support that position. l hereby aver that a true and correct copy of these texts is
attached to this Declaration as Exhibit B.

15. l\/[ost recently, only a week ago, the City of Portland, Oregon had an event similar to
Unite the Right after violent confrontations broke out, which included the Proud Boys

group in which we believed Mr. Kessler to have been a member.

I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true

Cé€)t. Wendy LSM'§

and correct

Dated: .luly 6, 2018

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EXHIBIT A

¢¢OOO Verizon ‘='.-` 5:03 PM 4 '0` 100% -'
Det Wendy

Fri, Aug11, 8:34 PM

E||iot K|ine (Security)

_(§_'l_Q) 406-2229

 

Working on enlarging your area
now

Water and power Wi|| be
unlocked and on by Mn

A|| security teams talked With
and original plan With escorts
for vip/speakers in place.

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EXHIBIT B

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¢¢OOO nTelos LTE 5:37 PM »1`,` -'

<® Jason ®

T|QL.|l`eCl l[ OU[

Sorry for getting
angry at you. l
know that you
were trying to do
the right thing
and abode by our
original security
plan

lt you or anyone
else will come
forward l will
make sure that
there are people
who will support
you.

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